Case 04-10394-BLS Doc1 Filed 02/09/04 Page 1 of 26

(Official Form 1) (12/03)

 

FORM B1

United States Bankruptcy Court
District of Delaware

Voluntary Petition

 

aaaiaaa wail
Name of Debtor Gf individual, enter Last, First, Middle):
MT 5, Incorporated, a California corporation

sunsaae
Name of Joint Debtor (Spouse) (Last, First, Middle):

 

 

Ali Other Names used by the Debtor in the last 6 years (include
married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 6 years (include married,
maiden, and trade names):

 

Last four digits of Soc Sec No /Complete EIN or other Tax LD.
No (if more than one, state ail):

XX-XXXXXXX

Last four digits of Soc. Sec No./Complete EIN or other Tax ID. No. (if more
than one, state all):

 

Street Address of Debtor (No & Street, City, State & Zip Code):
2500 Del Monte St.
West Sacramento, CA 95691

Street Address of Joint Debtor (No. & Street, City, State & Zip Cede):

 

County of Residence or of the
Principle Place of Business:
Sacramento, CA

County of Residence or of the
Priaciple Place of Business:

 

Mailing Address of Debtor (if different from street address):

Mailing Address of Joint Debtor (if different from street address):

 

 

Location of Principal Assets of Business Debtor
Gf different from street address above):

 

Venue (Check any applicable box)

PY] There is a bankruptcy case concerning debtor's affiliate, general

Information Regarding the Debtor (Check the Applicable Boxes)

[-] Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

purtner, or partnership pending in this district.

 

Type of Debtor (Check al! boxes that apply)
[7] Individual(s} (_] Railroad

Chapter or Section of Bankruptey Code Under Which the Petition is Filed
(Check one box)

 

Corporation F Stockbroker ([] Chapter 7 J] Chapter 11 ("] Chapter 13
C] Partnership (] Commodity Broker ["] Chapter 9 CO Chapter 12 ;
C] Other [} Clearing Bank (1 Sec. 304 ~ Case ancillary to foreign proceeding
Nature of Debts (Check one box) Tiling Fee (Check one box}
(CJ Consumer/Non-Business IX} Business Full Filing Fee attached

 

Chapter 11 Small Business (Check all boxes that apply)
(C] Debtor is a small business as defined in 11 U.S.C. § 101
(C] Debtor is and elects to be considered a small business under
LUSC § 1121(e) (Optional)

["] Filing Fee to be paid in installments (Applicable to
individuals only) Must attach signed application for the court's
consideration certifying that the debtor is unable to pay fee except in
installments. Rule 1606(b). See Official Form No. 3.

 

 

 

 

 

 

 

 

 

 

RLF1-2703542-[

 

SANS

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Statistical/Administrative Information (Estimates only) THIS SPACE 18 FOR CO SE ONL
Debtor estimates that funds will be available for distribution to unsecured creditors.
(] Debtor estimates that, after any exempt property is excluded and administrative expenses

paid, there will be no funds available for distribution to unsecured creditors
Estimated Number of Creditors 1-15 16-49 ” 100-199 300-999 1000-pver
Estimated Assets
80 to $50,001:0 $100.00Fto  $500,80110 $1,000,001 to = S16.000,001%0 $56,000,001 to
$50.000 $100,000 $500,000 $1 million $16 million $50 milan $100 million More than $100 million
Estimated Debts
$0 10 $50,001 to S$100.001t $500,001to $1,000,00F ta = $10,000,001 te $50,000,001 10 More than $160 million
$50,000 $100,000 500.006 $1 million $10 million $50 million $100 million

L] Cc) a Cy Cl] i] C] i
I Ei en "_

 

 

 
(Official Form 1) (12/03)

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FORM B1, Page 2

 

Voluntary Petition
(This page must be completed and filed in every case}

“a
Name of Debtor(s):
M TS Incorporated, a California Corporation

 

Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)

 

 

 

 

 

Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (1f more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
See Attached Exhibit 1.
District: i Relationship: Judge:
SIGNATURES
Siguature(s) of Debtor(s) (Individnual/Joint) Exhibit A

I dectare under penalty of perjury that the information provided in this
petition is true and correct.

[IF petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] Lam aware that 1 may proceed
under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
the relief available under each such chapter, and choose to proceed under
chapter 7.

I request relief in accordance with the chapter of tide 11, United States
Code, specified in this petition,

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g , forms
10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 1${d) of the Securities Exchange Act of 1934 and is
requesting relief under chapter | E)

(-] Exhibit A is attached and made a part of this petition

 

Exhibit B
(To be completed if debtor is an individual
whose debts are primary consumer debts)
I, the attorney for the petitioner named in the foregoing petition, declare
that ] have informed the petitioner that [he or she] may proceed under
chapter 7, £1, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter

x
Signature of Attorney for Debtor(s}

 

Date

 

Exhibit C

 

 

Xx
Signature of Debtor
x
Signature of Joint Debtor
Telephone Number (if not represented by attorney)
Date
jeratire sy Attorney
x r .
Mark D-Coltins, Esq.

Richards, Layton & Finger, P.A.

Onc Rodney Square, PO. Box 551

Wilmington, DE 19899

Telephone (302) 651-7700 and Fax (302) 651-7701

und

Stephen Warren, Esq.

O'Melveny & Myers LLP

4005. Hope St.

Los Angeles, CA 9007)

Telephone (213) 430-6000 and Fax (213) 430-6407

2\aloy
Date

Does the debtor own or have possession of any property that poses a
threat of imminent and identifiable harm to public health or safety?
[7] Yes, and Exhibit C is attached and made a part of this petition.

x No

 

Signature of Non-Attorney Petition Preparer
I certify that ] ama bankruptcy petition preparer as defined in 1] U.S.C.
§ £10, that ] prepared this document for compensation, and that { have
provided the debtor with a copy of this document.

 

Printed Name of Bankruptcy Petition Preparer

 

Social Security Number

 

Address

 

Names and Social Security numbers of all other individuals who

 

 

Signature of Debter (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true end correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title H1,
United States Code, specified in this potiem
MK pe cern
Signature of Authorized Mdividual
E, Allen Rodrivuez
Printed Name of Authorized Individual
Chief Executive Officer
Title of Authorized Individual
February 9, 2004
Date

prepared or assisted in preparing this document:

Hf more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

x

 

Signature of Bankruptcy Petition Preparer

 

Date
A bankruptcy petition preparer's fhilure to comply with the provisions of
title 1] and the Federal Rules of Bankruptey Procedure may result in
fines or imprisonment or both 11 U.S.C. § 110, 18 USC. § 156

 

 

LA3:1059152 3

 
 

Tower Records, Incorporated
MT S, Incorporated

Three A’s Holdings, L.L.C.
8775 Sunset, Enc.

Columbus & Bay, Inc.
Jeremy’s Holdings, LLC

R.T. Records, Incorporated
Tower Direct LLC

33" Street Records, Incorporated
T.R. Services, Incorporated
Ireland TR, Incorporated
Pipernick Corp.

TR Argentina, Incorporated
TR Israel, Incorporated

TR Mexico, Incorporated
Tower Graphics, Incorporated

LA3: 1059552 3

 

Exhibit ]

List of Filing Entities
 

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CERTIFICATE OF SECRETARY OF
MTS, INCORPORATED

 

The undersigned, DeVaughn D. Searson, hereby certifies that:

1. He is the duly elected and qualified Secretary of MTS, Incorporated (the “Company’).

2. Attached hereto as Exhibit A is a true and correct copy of resolutions adopted by the
Board of Directors of the Company on February 5, 2004, and no other resolutions have been
adopted relating to the subject matter thereof by such Board of Directors or any committee
thereof.

IN WITNESS WHEREOF, the undersigned has executed this Certificate this Sth day of
February, 2004.

DeVaughn D. Searson
Secretary

WSs Ww
 

Case 04-10394-BLS....Doc.1_Filed.02/09/04 Pa,

Tre

EXHIBIT A
Resolutions

Ratification and Approval of Joint Plan of Reorganization and Approval of Filing of
Petition Under Chapter 11 of the United States Bankruptey Code

WHEREAS, the Corporation has effected an exchange offer to the holders of the
Corporation's 9%% Senior Subordinated Notes due 2005 (the “Notes”) and solicited the vote of
such holders on a prepackaged Joint Plan of Reorganization (the “Joint Plan of Reorganization”)
in accordance with Chapter 11 of Title 11, United States Code, 11 U.S.C. §§ 101, et seq. (the
“Bankruptcy Code”),

WHEREAS, the Corporation has received the required approval from the holders of the
Notes for the exchange offer and the Joint Plan of Reorganization;

WHEREAS, the Joint Plan of Reorganization is in the best interests of the Corporation
and its shareholders and creditors;

WHEREAS, in order to consummate the Joint Plan of Reorganization, the Corporation
desires to file a petition under Chapter 11 of the Bankruptcy Code;

WHEREAS, the Corporation has requested that The CIT Group/Business Credit, Inc.
(“CIT”), and certain other financial institutions (together with CIT, the “Lenders”), and the
Lenders have agreed to, extend a postpetition credit facility to the Corporation in an aggregate
principal amount not to exceed $100,000,000 by amending the existing credit facility provided
by the Lenders; and

WHEREAS, the postpetition loans, advances and other financial accommodations to be
provided by the Lenders are in the best interests of the Corporation.

NOW THEREFORE, be it:

RESOLVED, that, based on factors and information deemed relevant by the
Board of Directors, in the judgment of the directors of the Corporation, it is in the best interest of
the Corporation, its creditors, its shareholders and other interested parties, that a petition be filed
pursuant to Chapter 11 of the United States Bankruptcy Code on behalf of the Corporation to
pursue confirmation of the Joint Plan of Reorganization and preserve the value available to the
creditors and shareholders of the Corporation and its subsidiaries.

RESOLVED FURTHER, that filing of a voluntary petition on behalf of the
Corporation be, and the same hereby is, approved and adopted in all respects and that the Chief
Executive Officer be, and hereby is, authorized, on behalf of the Corporation, to execute and
verify a petition and any other supporting documents, applications or pleadings, and to cause the
same to be filed with the United States Bankruptcy Court for the District of Delaware, or in such
other jurisdiction or court as said officer may deem necessary or appropriate (the “Bankruptcy
Court”).
 

Case.04-10394.BLS..Dec-1—Filed-02/09/04——P

RESOLVED FURTHER, that the Joint Plan of Reorganization be, and the same
hereby is, approved and adopted in all respects and the officers of the Corporation be, and each
hereby is, authorized, on behalf of the Corporation, to pursue confirmation of the Joint Plan of
Reorganization by the Bankruptcy Court pursuant to Section 1129 of the Bankruptcy Code.

RESOLVED FURTHER, that each of the officers of the Corporation be, and
hereby is, authorized to execute and file all petitions, schedules, statements of affairs, lists and
other papers and to take any and all related actions which such officer may deem necessary or
proper in connection with such Chapter 11 case or pursuit of confirmation of the Joint Pian of
Reorganization;

RESOLVED FURTHER, that the officers of the Corporation be, and each hereby
is, authorized to retain on behalf of the Corporation such counsel, investment bankers or other
financial advisors, and such other professionals as such officer deems necessary or appropriate,
upon such terms and conditions as such officer shall approve, to render services to the
Corporation in connection with such Chapter 11 proceedings and with respect to other related
matters in connection therewith;

RESOLVED FURTHER, that the Amended and Restated Loan and Security
Agreement between the Corporation and the Lenders in substantially the form presented to the
Board (the “Loan Agreement”) be, and the same hereby is, approved and adopted in all respects
and that the officers or agents of the Corporation, and each of them, are hereby authorized,
directed and empowered to make, execute and deliver, either jointly or severally, for and on
behalf of and in the name of the Corporation, the Loan Agreement with such changes thereto as
the person executing the same shall approve, such approval to be conclusively evidenced by the
execution and delivery thereof, and any other agreements (including without limitation, any
guaranties and any reaffirmations) with the Lenders relating to the terms and conditions upon
which the postpetition loans, advances and other financial accommodations may be obtained
from the Lenders and to the security to be furnished by the Corporation therefor, related Uniform
Commercial Code financing statements, and any and all amendments, supplements,
modifications, extensions, renewals, replacements and agreements, documents and instruments
relating to the foregoing or requested by the Lenders;

RESOLVED FURTHER, that any of the officers or agents of the Corporation,
and each of them, are hereby authorized, directed and empowered, for and on behalf of and in the
name of the Corporation (a) to borrow from the Lenders such amount or amounts of money or
obtain postpetition loans, advances and such other financial accommodations as may be made
available to the Corporation by the Lenders pursuant to the Loan Agreement and (b) to extend or
renew any loan or loans or any installment of principal or interest thereof, or any indebtedness
owing to the Lenders pursuant to the Loan Agreement,

RESOLVED FURTHER, that the officers and agents of the Corporation, and each
of them, for and on behalf of and in the name of the Corporation, are hereby authorized, directed
and empowered to make, execute and deliver, from time to time, the note or notes of the
Corporation, evidencing said loan or loans, extensions or renewals, and to sell, transfer, lease,
assign, hypothecate, set over, otherwise transfer, grant security interests in, or pledge any or all
 

of the property of the Corporation, real, personal, or mixed, tangible or intangible, now owned or
hereafter acquired as security or otherwise, as required under the Loan Agreement.

TU iwi
 

 

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

M T S Incorporated, a California : Case No. 04- ( )

corporation, : Jointly Administered
Debtor.

CONSOLIDATED LIST OF CREDITORS HOLDING 50 LARGEST CLAIMS

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE

The following list attached hereto as Exhibit A is a list of the above referenced
Debtor’s creditors holding the fifty (50) largest unsecured claims. The list is prepared in
accordance with Fed.R.Bankr. P. 1007(d) for filing in this Chapter 11 case. The list does not
include (1) persons falling under the definition of “insider” as defined in 11 U.S.C. § 101, or (2)
secured creditors unless the value of collateral is such that the unsecured deficiency places the

creditor among the holders of the fifty (50) largest claims.

LA3:1BG0899 |
 

 

Exhibit A

1 AXXXXXXXX 1
Case_04-10394-RI S$ JIIocd

FORM 24 106/90)

MTS, Incerporated

Filed 2 O/O A Pane 0. Of 26,

 

 

Debtor

Case No, (If known)

Form 4, LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS ;

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

Following is a list of the debtor's creditors holding the 50 largest unsecured claims. The list is prepared in accordance with FED. R. Banke. P
(007(d) for the filing in this chapser 11 [or chapler 9] case The list does not include (1) persons who come within the definition of ‘insider’ set
forth in 11 USC. § 1G1(31). or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency places the creditor
among the holders of the 50 largest unsecured claims

The informativa herein shall not constitute an admission of liability by, nor is it binding on, the Debtors This list is consolidated for all of the
Debtors, but does act mean that all of the Debtors have joint or several liability. This list reflects amounts as of January 23, 2004.

 

 

 

Name of creditor and Name, telephone number and Nature of claim Q1Siz AMOUNT OF
complete mailing address, complete mailing address, (trade debt, bonk 2/= 2] CLAIM (if secured
including zip cade. Including zip cade, of employee, loan, government = 2 5 also state value of
agent, or department of creditor contract, ete.) als 3 security)
fomitler with claim who may be aS
contacted “ a
o
1 US BANK US BANK INDENTURE TRUSTEE 516.000,000.00
CORPORATE TRUST SERVICES. CORPORATE TRUST SERVICES FOR S110 MILLION
PO. OX 778 P.O, BOX 778 BOND OBLIGATION i

BOSTON. MA 02602-0778

BOSTON. MA 02102-0778
ATTN: MARY PARKHOUSE
TEL: (617) 603-6429

FAX: (617) 603-6640

 

 

 

2 UNIVERSAL MUSIC & VIDEO UNEVERSAL MUSIC & VIDEO AP VENDOR 515.619 969.67
9999 E, 12187 ST. 9999 E, i2EST ST.
FISHERS IN 46038 FISHERS, IN 46058
ATTN: JOHN KAHLOW
TEL: (317) 595-5176
FAX: £317) 595-5451
J) WEA DISTRIBUTION WEA DISTRIBUTION AP VENDOR $13.696.312.61
3400 WEST OLIVE AVE. 6TH FLOOR 3460 WEST OLIVE AVE . 67H FLOOR
BURBANK. CA YLSO5 BURBANK, CA 91505
ATTN: KIRSTIN STACHOWIAK
TEL: (BOS) 579-1243
FAX: (805) 579-1436
4 SONY MUSIC ENTERTAINMENT SONY MUSIC ENTERTAINMENT AP VENDOR ST 134391 25

7108 COLORADO AVE, IRD FLOOR
SANTA MONICA, CA HON

 

2400 COLORADO AVE , 3RD FLOOR
SANTA MONICA, CA 9G4H

ATTN: RICH CAZIN

TEL: (Hd) 449-2440

FAX: (310) 449.2443

 

 

 

 

 

 

' The above information is based upan a review of the debtor's books and records.
defenses or counterclaims to the below-listed claims have been completed Therefore. t
defense. countercisin or offset to the below-listed claims; (2) an acknowledgment of the a

right or fegul position of the debtor

2 See Annex A fora list of largest bond holders known to the debtor

Puue Bot 1i

However. no comprehensive legal and/or factual investigations with regard ta possible
his listing does not and should not be deamed to constitute: (1) a waiver of any
Howability of any of the below-listed claims: and/or (3) a waiver ofany other

 
 

Case.04.103294-BL Ss. Dac

FORM B4 (05,90)

MTS, Incorporated

File O20 O10 A el GUG dua da dled.
iwi

 

 

Debtor

Case No, (if known)

Form 4. LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS '
(Continuation Sheet)

 

 

 

 

 

 

Name of creditor and Name, telephone number and Nature of claim 2 S 2 AMOUNT OF
complete mailing address, carmplete muiling address, (trade debt, bank 2is 3 CLAIM (if secured
including zip code. including zip code, of empiovee, loan, government = 2 <q | also state value of
agent, or department of creditor contract, etc.} ats 5 security}
familiar with claim who may be a>
contacted 5 m
a
5 BMG DISTRIBUTION MG DISTRIBUTION AP VENDOR 57,095.70) 82
B740 WILSHIRE BLYD, 8750 WILSHIRE BLYD.
BEVERLY HILLS. CA 99211 BEVERLY HILLS, CA 90251
ATTN: JACKIE ROTTMAN
TEL: (310) 348-4083
FAX: (310) 358-4073
& WHVAVARNER HOME VIDEO CREDIT WHV/WARNER HOME VIDEO CREDIT AP VENDOR $3 314.393 95
1601 W GLEVE BLVD SUITE 800 360) W OLIVE BLVD. SUITE 400
BURBANK. CA 91505 BURBANK, CA 91505
ATTN: SEAN DOWD
TEL: C818) 977 8972
FAX: (818) 729-1808
7) EMI MUSIC DISTRIBUTION EM MUSK DISTRIBUTION AP VENDOR $2.774.306.56
501 FLYNN ROAD 50} FLYNN ROAD
CAMARILLO. CA 93012 CAMARILLO. CA 93052
ATTN: JIM THEQDOLOU
TEL: (B05) 344-5663
FAX; (805) 334-5674
& VENTURA DISTRIBU TION, INC VENTURA DISTRIBUTION, TSC AP VENDOR SE.773 632 68
770 LAWRENCE DR 770 LAWRENCE DR.
THOUSAND OAKS. CA 91320 THGUSAND OAKS. CA E320
ATTN: CHERYL HERNANDEZ
TEL: (889) 499-3700
FAX: (805) 498-7842
9 NAVARRE CORPORATION NAVARRE CORPORATION AP VENDOR 31,655,594 24
7400 49TH AVENUE NORTH 7400 49TH AVENUE NORTH
NEW HOPE MN 55428 NEW HOPE. Mi\ 35428
ATT: PAT YOUNG
TEL: (800) 718-4000
FAX: (612) 533-2156

 

 

 

 

 

 

 

* The above information is based upon a review of the debtor's books and records However, ne comprehensive Jegal and/or factual investigations with regard 1¢ possible
defenses or counterclaims to the below-listed claims have becn completed Therefore, this listing does nol and should not be deerned to constitute: {1} a waiver of any
defense. covalerctaim or offset to che below-listed claims; {2} an acknowledgment of the allowability of any of the below-listed claims: and/or (3) a waiver of any other

right or legal position of the debtor

Page 2 of 1}

 
Case 04.10294-RBLS.Dac.1

FORM BA (0690)

MTS, incorporated

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Debtor

Case No. (If known)

Form 4. LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS '

 

 

 

 

 

 

 

(Continuation Sheet)
Name of creditor and Name, telephone number and Nature of claim 8 S 2 AMOUNT OF
complete mailing address, complete mailing address, (irade debt, bank 2;c S14 CLAIM (if secured
including zip code. including zip code, of employee, loan, government 2 Q 5 also state value of
agent, or department of creditor contract, etc.} S)jaiz security)
, 919
forniliar with claim who may be mS
contacted 4 a
a
10 IMAGE ENTERTAINMENT. INC IMAGE ENTERTAINMENT, INC AP VENDOR SLATL 729 33
9733 OS0 AVENUE 9331 OS0 AVENLE
CHATSWORTH. CA 91314 CHATSWORTH, CA S1GET
ATTN: KRISTI KATILAVAS
TEL: (818) 407-9100
FAX: (818) 407-9530
il SONY RED CO MELLON BANK SONY REO C/O MELLON BANK AP VENDOR $1456.763 36
2100 COLORADO AVE, IRD FLOOR 2100 COLORADO AVE. JRE FLOOR
SANTA MONICA. CA 90804 SANTA MONICA, CA 90404
ATTN: RICH CAZIN
TEL: (540) 499-2446
FAX: (310) 449-244]
tz INTERNATIONAL PERIODICAL INTERNATIONAL PERIODIC AL AP VENDOR SE.039.842 35
77500 RIVERVIEW CENTER BLVD 27500 RIVERVIEW CENTER BLVD
SUITE 400 SUITE 400
BONITA SPRINGS, FE. Bayd4 BONITA SPRINGS. FL 34134
ATTN: SANDRA GEYSER
TEL: (239) 944456
FAX: (259) 949-7632
13, PARAMOUNT HOME VIDEO PARAMOLNT HOME VIDEO AP VENDOR $1.02 7.989 29
5455 MELROSE AVESUE 3555 MELROSE AVENUE
LOS ANGELES. CA 90038 LOS ANGELES, CA 50038
ATTN: ANDIMARYGOLD
TEL: (323) 956-5489
FAX: (323} BG2+1 £83
i4 MGM HOME ENTERTAINMENT MGM HOME ENTERTAINMENT AP VENDOR SHAT
2450 BROADWAY. E-5260 2480 GROADWAY. E-5260
SANTA MONICA. CA HH405-3061 SANTA MONICA. CA 90464-3061
ATTN: JOHN ROUSSEY
TEE: (310) 586-8306
FAX: (310) 586-8390

 

 

 

 

 

 

 

1 The above information is based upon a review of the debtor's books and records. However, no comprehensive legal andor factual investigations with repard to possible
defenses or counterclaims to the below-listed claims have been completed. Therefore, this listing does not and should not be deemed to constitute: (1}.a waiver of any
defense. counterclaim or offset to the below-listed claims: (2) an acknowledgment of the allowability of any ef the below-listed claims: and/or £3) a waiver of any other

night or legal position of the debtor

Page Jof 14

 
 

FORM #4 (06°90)

MTS, Incorporated

 

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9/0.4—Rage-+e-of-26

 

Debtor

Form 4,

(Continuation Sheet)

Case No. df known)

LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS '

 

 

 

 

 

 

 

 

 

 

Name of creditor and Name, telephone oumber and Nature of ctalm ors|2 AMOUNT OF
complete mailing address, complete mailing address, (trade debt, bank 2/t 3 CLAIM (tif secured
including zip code. including zip cade, of employee, loan, government = 2 5 also state value of
agent, or department of creditor contract, etc.) a 5 5 security)
familiar with claim who may be a>
contacted = a
o
15 COLUMBIA TRISTAR HOME VIDEO COLUMBIA TRISTAR HOME VIDEO AP VENDOR $693 325.40
10202 W WASHINGTON BLVD 10202 W WASHINGTON BLVD
SPP STE.2404 SPP STE.2404
CULVER CITY. CA 99232 CULVER CITY, CA 90232
ATTN: DAN STEVES
TEL: (310) 244.3672
FAX: (310) 244-4886
I6 EAGLES RECORDING CO Hl EAGLES RECORDING CO H AP VENDOR $639 276.00
11650 OXNARD ST., SUITE 1925 21650 OXNARD ST, SUITE [925
WOODLAND HELLS CA 91367-2000 WOODLAND HILLS, CA 91367-2000
ATTN: IRVING AZOFF (MANAGER)
TEL: 4310) 209-3100
FAM: (3 1B) 209-5152
17 HARMONIA MUNDI US.A HARMONIA MUNDIUS.A AP VENDOR $606,704 94
1117 CHESTNUT STREET }U:7 CHESTNUT STREET
BURBANK, CA 91506 BURBANK, CA 91506
ATTN: MILCE AGUILAR
TEL: (818) 333.1500
FAX; [H18} 333.1502
18 RESPOND2 ENTERTAINMENT LLC RESPOND? ENTERTAINMENT 1 LC AP VENDOR 5570. 188 40
207 NW PARK AVE 207 NW PARK AVE
PORTLAND. OR 97209 PORTLAND, OR 97209
ATTN: IQHN GRANT (CONTROLLER}
TEL: (503) 276-4094
FAR: OT EY 544-3585
19 AEC ONE STOP GROUP INC AEC ONE STOP GROUP INC AP VENDOR $550.307 84
1250 CORAL RIDGE DR 4250 CORAL RIDGE DR
CORAL SPRINGS FL 33065 CORAL SPRINGS, FL 33065
ATES: ELAINE
TEL: (954) 255-4879
FAX: (95d) 255-4825

 

 

 

 

' The above information is based upon a review of the debtor's books and records However, no comprehensive legal and/or factual investigations with regard to possible
defenses or counterclaims to the below-listed claims have been completed Therefore. this fisting does not and should not be deemed 10 constitute: (1) a waiver of any
defense. counterctaim or offset to the below-tisted claims: (2) on acknowledgment of the allowability of any of the below-listed eloims; and‘or (3) a waiver of any other

right or Icwal position of the debtor

Page 4 of EL

 
 

FORM B4 (06. 90}

MIS, Incorporated
Debtor

Dag
T MywY TY ev

a1 A et.26.

Case No. {If known)

Form 4. LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS ;
(Continuation Sheet)

 

Name of creditor and
complete maillng address,
including zip code.

Name, telephone number and
camplete mailing address,
including zip code, af empiayee,

Nature of claim
(Irade debt, bank
loan, government

JINSONLINGOD
aaLvamorino

daindsiad

AMOUNT OF
CLAIM (H seeured
also state value of

 

 

 

 

 

 

22-08 ROUTE 208
FAIRLAWN NE 7410

 

22-08 ROUTE 208
FAIRLAWH, NE OT7410
ATTN: JOE DEFEO

TEL: (800) 533-2836 ¥5959
FAX: (201) 796-8797

 

 

 

 

 

agent, or department of creditor contract, etc.) securlty}
famiilar with claim who may be
contacted
2 VIDEO PRODUCTS DISTR VIDEO PRODUCTS DISTR AP VENDOR S335 340.10
150 PARKSHORE DRIVE 180 PARKSHORE DRIVE
FOLSOM, CA 95639 FOLSOM, CA 95636
ATTN: SHERE JAMESGN
TEL: (956) 605-1565
PAX: (916) 605-1652
1 KOCH ENTERTAINMENT KOCH ENTERTAINMENT AP VENDOR $434,998 84
22 HARBOR PARK DR 22 HARBOR FARK DR
PORT WASHINGTON NY [1050 PORT WASHINGTON NY 11050
ATTN: HM HARDY
TEL: (516) 484-1000
FAX: (5 66} 484-4775
22) MUSIC VIDEO DISTRELITORS MUSIC VIDEG DISTRIBUTORS AP VENDOR S39R O47 95
PO. BOX 280 P.O. BOX 280
GAKS. PA 19456 OAKS, PA 19456
ATTN: DAVE BRUNO
TEL: (400) B88-D495
PAX: (619) 650-9102
23 INNOVATIVE DISTRIBUTION NETWORK INNOVATEVE DISTRIBUTION NETWORK AP VENDOR STE 668.34
4250 CORAL RIEEE DR. 425¢ CORAL RIDGE DR.
CORAL. SPRINGS. FL 31085 CORAL SPRINGS, FL 37065
ATTN: KARLA STEELE ROMANO X4658
TEL: (954) 155-4658
FAX: (217) 255-4698
24 MAXELL CORP OF AMERICA MAXELL CORP OF AMERICA AP VENDOR $387,525 76

 

’ The above information is based upon a review of the debtor's books and records However. no comprehensive Jegal and/or factual investigations with regord to possible
defenses or caunterctaims to the below-listed claims have been completed. Therefore. this tisting dees not and should not be deemed to constitute: (1) a waiver of any
defense. counterclaim or offset to the below-listed claims: (2) an acknowledyement of the allowability of any of the below-listed claims: and/or {3} 0 waiver of any other

right or legal position of the debtor

Page Sot 2]

 
FORM B4 (fie 20}

MTS, lncorporated

 

Debter

Form 4.

(Continuation Sheet)

Case No. (if known)

LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS '

 

 

 

 

 

 

Name of creditor and Name, telephone number and Nature of claim 8 5 o AMOUNT OF
complete mailing address, complete mailing address, (trade debt, bank 4 r %| CLAIM (if secuced
including zip code. Including zip code, of employee, loan, government 5 I S aiso state vaiue of
agent, or department of creditor contract, ete.) o|s & security)
fomittar with claim who may be a |
contacted +4 a
g
25 CAROLINE RECORDS CAROLINE RECORDS AP VENDOR, $372. 555 28
SG) FLYNN ROAD 501 FLYNK ROAD
CAMARILLO, CA 93042 CAMARILLO. CA 93012
ATTN: JiM THEGDOLOU
TEL: (805) 384-5663
FAX: (805) 184.5674
26 SELECT-O-HITS I€C, SELECT-O-HITS, INC. AP VENDOR $355,266.42
19AL FLETCHER CREEK OR 1981 FLETCHER CREEK OR
MEMPHIS. TN 38133 MEMPHIS, TN 38133
ATTN: DENISE JOHKSON
TEL: ¢904) 188-1390
FAX: (904) 3881243
27 CITY HALL RECORBS CHY HALL RECORDS AP VENDOR $345 899,48
10 GLACIER POIKT RD SUITE C 1O) GLACIER POINT RD. SUITES
SAN RAFAEL. CA 94961 SAN RAFAEL CA 94901
ATTN: DAVID EVANS
TEL: 415) 457-9080
FAX, {415} 457-0780
28) TELARC INTERNATIONAL CORP TELARC INTERNATIONAL CORP AP VENDOR, $341.346.31
23307 COMMERCE PARK RD 23307 COMMERCE PARK RE
CLEVELAND. OF 44922 CLEVELAND, OH 44122
ATTN: KAREN BURNS
TEL: (216) 464-2313
FAX (216) 464-4108
29 KORN BOOK BDISTRIBL TORS KOEN BOOK DISTRIBUTORS AP VENDOR SUI7G917 35

10 TWOSOME DR
P.O BOX 606
MOORESTOWN NJ 08057

 

 

10 TWOSOME DR

P.0. BOX 600
MOORESTOWN, NI 08057
ATTN: TONY GANGEMI

TEL: ¢890) 257-8481
FAX: (RSG) 727-6914

 

 

 

 

 

 

' The above information is based upon a review of the debtor's books and
defenses or counterclaims to the below-listed claims have been complete
defense. counterclaim or offset to the below-tisted claims: (2) an acknowledgment of the allowability o

right or legal position of the debtor

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records However. no comprehensive legal and/or factual investigations with regard to possible
d. Therefore. this listing does net and should not be deemed to constitule: (1}a waiver of any
f uny of the below-listed claims: and/or (3) a walver of any other

 
FORM Bel (0640)

MTS, Incorporated

 

 

Debtor

Case No. (if known)

Form 4. LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS ‘
(Continuation Sheet)

 

 

 

 

 

 

Name of creditor and Name, telephone number and Nature of claim 8 S = AMOUNT OF
camplete matling address, complete mailing address, {trace debt, bank 2c 3 | CLAIM (If secured
including zip code. including zip cade, of employee, loan, government 3 2 5 also state value of
agent, or department of creditor contract, etc.} aS a security)
familiar with clalm who may be mi >
contacted 5 a
o
H) ELECTRO SOURCE, LLC ELECTRO SOURCE. LLC AP VENDOR $299.15 50
1842 E, 27TH ST. 1840 E. 29TH ST.
VERNON, CA 90058 VERNON. CA 90058
ATTN: MIKE PLACIDO
FEL? (323) TI4+99 14
FAX: (323) 134-9922
Jl NAXOS GF AMERICA, INC NAXOS OF AMERICA, INC. AP VERKBOR $266.425 18
416 MARY LINDSAY POLK OR 416 MARY LINDSAY POLK DR
SUITE $09 SUITE S09
FRANKLIN. TN 17067 FRANKLIN, FN 37067
ATTN: RICHARD BiGGs
TEL: (OLS) 771-9595
FAX, {615} 774-6747
42 HAL LEGNARD PUBL. CORP HAL LEONARD PLBL. CORP AP VENDOR $265.67: 94
960 EAST MARK STREET $60 EAST MARK STREET
WINONA .MN S559R7 WINGNA MN 53987
ATTN: JEAN PAPENFUSS
TEL: (507) 454-2920
FAX: (507) 454-4042
33° TEE VEE TOONS KC, TEE VEE TOONS INC. AP VENDOR $254 699 16
23) EAST 4TH STREET 20 EAST ATH STREET
NEW YORK, NY 10003 NEW YORK. NY 10003
ATTS: DAVID GLICK
TEL: (242) 979-4410
FAX: (252) 979-6489
34 FANTASYJINCG FANTASY, INC AP VENDOR $235.235 91
2600 TENTH STREET 2600 TENTH STREET
BERKELEY CA W710 BERKELEY.CA 947f0
ATTN: RALPH KAFFEL
TEL. (800) 2274466
FAX; (510) 486-2015

 

 

 

 

 

 

 

 

' The above infermation is based upon a review of the debtor's books and records. However, no comprehensive legal and/or factual investigations with regard to possible
defenses or counterclaims to the below-lixed claims have becn completed. Therefore, this listing does not and should not be deemed to constitute: (2) a waiver of any
defense, counterclaim or offset to the below-tisted claims: (2) an acknowledgment of the allowability of any of the below-listed claims: and/or (3} o waiver of uny other

right or legal position of the debtor

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FORM GH 106.90}

MTS, Incorporated
Debtor

 

 

Form 4. LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS '

Case No, (If known)

 

 

 

 

 

 

(Continuation Sheet)
Name of creditor and Name, telephone number and Nature of claim $ 3 AMOUNT OF
complete muiling address, complete mailing address, {trade debt, bank 2,m 3} CLAIM Gf secured
Including zip ende. inciuding zip code, oFempioyer. loan, government 5 2 5 also state vatue of
agent, or depariment of creditor contract, ete.) a S 5 security)
farnitiar with claim who may be g >
contacted 4 a
a
35 DELTA ENTERTAINMENT CORP DELTA ENTERTAINMENT CGRP AP VENDOR $225,599 $7
166) SAWTELLE BLVD 1663 SAWTELLE ALVE
LOS ANGELES CA 90025 LOS ANGELES. CA 90025
ATTN; ROB SIMS XIES
TEL. $310) 268-3205
FAX: (310) 268-1279
36 MODEL DISTRIBUTORS MODEL DISTRIBLTORS AP VENDOR $224,890.72
318 WEST J9TH ST 318 WEST 39TH ST
STH FLOOR 9TH FLOOR
NEW YORK,NY {0018 NEW YORK, NY 10018
ATTN: HOWARD SCHISLER
TEL: (800) 223.1420
FAX: (212) 727-0500
37 LOS ANGELES TIMES LOS ANGELES TIMES AP VENDOR - OPERATIONAL. $212,948 27
PO BOX 60040 PO BOX 60040
LOS ANGELES CA 90099-0071 LOS ANGELES, CA 90099-0023
ATIN: OLIVIA SULLIVAN
TEL: (21392377979
FAX: (215) 257-184
34 DIAMOND COMICS INC. DIAMOND COMICS INC. AP VENDOR $200,351 45
1966 CREENSPRING DRIVE. SUITE 300 1966 GREENSPRING DRIVE. SUITE 300
TIMONIUM MD 21093 TIMONIUM. MD 21093
ATTA: BETH TRACEY
TEL; (800) 482-6642
FAX: (410) $60-7145
39 PRO LINE PRINTING [NC PRO LINE PRINTING. INC AP VESDOR « OPERATIONAL $200 205 34

PO BOX 409577
ATLANTA. GA 30384-9527

 

 

PO. BOX 409527
ATLANTA, GA 30384-9527
ATTN: KAREN SCOFIELD
TEL:4B1 7) 46-9810 X10B
FAX: #817) 401-8715

 

 

 

 

 

 

1 The above information is based upon a review of the debtor's books and records. However, no comprehensive legal and/or factual investizations with regard to possible
defenses or counterclaims to the below-listed claims have been completed. Therefore. this listing does nat and should not be deemed to constitute: (1) a waiver of any
defense, counterciaim or offset to the below-listed claims; (2} an acknowledyment of the allowability of any of the betaw-listed claims: and/or (3) a waiver of any other

right or legal position of the debtor

Page 8 of [1

 
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MTS, Incorporated
Debtor

Case No. (If known}

Form 4. LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS ‘
(Continuation Sheet)

 

 

 

 

 

 

Name af creditor and Name, telephone aumber and Nature of claim Q $ g AMOUNT OF
complete mailing address, complete mailing address, (trade debt. bank 3 x 31 CLAIM (if secured
including zip code. including zip code, of employee, loan, government! 3 o 5 also state value of
ager, or department of creditor contrnet, ete} 4 = a security)
familiar with claim who may be 5 >
contacted od a
a
40 MUSICRAMA, ENC MUSICRAMA, INC AP VENDOR Si97490.83
43-01 22 5ST 6TH FLOOR 43-01 22 SF 6TH FLOOR
LONG ISLAND CITY. NY 11101 LONG ISLAND CITY, NY 11101
ATH: ANETA SNIAROWSKI
TEL: (78) 3B9-7868
FAX: (7(8} 383-5152
41 FEDEX FEDEX AP VENDOR - OPERATIONAL Si93.145.12
POBOX 1140 PO BOX [140
MEMPHIS, TN 38101-6140 MEMPHIS, TN 38101-1140
ATTN: LINDA
TEL: (800) 622.1147
FAX: (559) 294.1903
42 GOTHAM DISTRIBUTING CORP GOTHAM DISTRIBUTING CORP AP VENDOR SLUPL. 747 58
60 PORTLAND RO 60 PORTLAND RD
CONSHOHOCKEN, PA 19428 CONSHOHOCKEN, PA 19428
ATTN: TERRI ZADRAGA
TEL: (613) 649-7650
FAX: (610) 49-031 §
43 BIG DADDY MUSIC DISTRIBUTION. INC BIG DADDY MUSIC DISTRIBLTION. INC AP VENDOR $189,067 46
162 NORTH 8TH SF 162 NORTH 87H ST
KENILWORTH. NI 07033 KENILWORTH, NI 07033
ATTN: DOUGLAS § BAIL
TEL: (908) 653-9110
FAX: (908) 653-95 14
44 MPL HOME VIDEO MPI HOME VIDEO AP VENDOR Si83 543 55

 

16101 SOUTH 1G8TH AVENUE
ORLAND PARK. TL. 40462

 

16101 SOUTH {08TH AVENUE
ORLAND PARK. IL 60162
ATTN: GINA DAMGN

TEL: (708) 460-0555

FAX: (708) 873-3177

 

 

 

 

 

 

' The above information is based upon a review of the debtor's books and records However, no comprehensive legal and/or factual investigations with regard to possible
defenses or counterclaims to the below-listed claims have been completed Therefore, this listing does not and should not be deemed to constitute: (1) waiver of any
defense. counterclaim or offset 10 the beiow-listed claims: (2} an acknowledgment of the allowability of any of the below-tisted claims; and/or (3) a waiver of any other

right or legal position of the debtor

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MTS, Incorporated

 

 

Debtor

Case No. Uf known}

Form 4, LIST OF CREDITORS HOLDING 56 LARGEST UNSECURED CLAIMS '
(Continuation Sheet}

 

 

 

 

 

 

Name of creditor and Name, telephone auraber and Nature of claim a §\e AMOUNT OF
complete mailing address, camplete mailing address, (trade debt, bank 4/c¢ @ CLAIM (If secured
including zip code. Including zip code, of emptoyee, loan, government =/5/|S] alsa state value of
agent, ee department of creditor contract, etc.) 5 = 5 security}
familiar with claim who may be a>
contacted “i x
9
45 FUNKY ENTERPRISES, INC FUNKY ENTERPRISES. INC AP VENDOR $182,086 35
132-05 ATLANTIC AVESUF 132-05 ATLANTIC AVENUE
RICHMOND HILL. NY 11418 RICHMOND HILL. NY E418
ATTN: TONY GUZMAN
TEL: (800) 221-6730
FAX: (748) 847-2760
46 JOCELYN EXRIQLEZ JOCELYS ENRIQUEZ AP VENDOR §170.203 65
I4tS EWING DRIVE (465 EWING DRIVE
CHULA VISTA. CA 919It CHULA VISTA.CA FISH
ATTN: JOCELYN ENIQUEZ
TEL: (619) 216-7287
FAX: NiA
47 NEW YORK TIMES CO. NEW YORK TIMES CO AP VENDOR « OPERATIONAL $168,667 50
P.O BOX 19218 PO. BOX 19718
NEWARK. NJ 07195-0001 NEWARK. NI 07195.0001
ATTN: ROB CASCARING
FEL: (415) 438-6557
FAX: 1415) 438-6541
48 NEW WORLD MUSIC. INC NEW WORLD MUSIC. INC AP VENDOR $449.223 99
PO BOX 2633 PO BOX 2633
PALM SPRINGS. CA 92263-2633 PALM SPRINGS, CA 92263-2633
ATTN: MICHAEL HAMILTO
TEL: 760) 318-7033
FAX: (760) 318 7024
49 LIONS GATEWIDMARK ENTERTAINMENT | LIONS GATEVIDMARK ENTERTAINMENT AP VENDOR 5145.815 09

 

4553 GLENCOE AVENLE, SUITE 200
MARINA DEL REY CA 90202

 

4553 GLENCOE AVENUE, SUITE 200
MAINA DEL REY, CA 90292
ATTN: CAROL CYR

TEL (340) 314-2000

FAX: (310) 452-9644

 

 

 

 

 

 

' The above information is based upon a review of the debtor's books and records. However, no comprehensive legal and/or factual investigations with regard to possible
defenses or counterclaims to the below-listed claims have been completed. Therefore. this listing does not and should nat be deemed to constitute: (4) a waiver of any
defense. counterclaim or offset to the below-listed claims: (2) an acknowledgment of the allowability of any of the below-tisted claims: and/or (3) @ waiver of any other

right or legal position of the debtor

Page 10 of It

 
 

 

 

FORM B4 106-07)

MTS, Incorporated
Debtor

Case No. {If known)

Form 4, LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS '
(Continuation Sheet)

 

 

Name of creditor and Name, telephone number and Nature of claim g 5 Q AMOUNT OF
complete mailing address, complete mailing address, (trade debi, bank zZzyc S| CLAIM (H secured
Including zip code. Including zip cade, of employee, loan, government Bid 5 also state value of
agent, or department of creditor contract, ele.) é s 5 security)

familiar with claim who may be 9 >
contacted od a
oF

50 27) EMPIRE RECORDS FT.) EMPIRE RECORDS AP VENDOR St4t.04i 63

P.O, BOX 16039
ENCINO. CA 91456

 

P.O, BOX £6039
ENCIND, CA 91416
ATTN: JEROME WOODS
TEL: (818) 264-7339
PAXD N/A

 

 

 

 

 

 

' The above information is based upon a review of the deblor's books and recards However, no comprehensive legal and/or factual investigations with regard to possible
defenses or counterclaims to the below-dlisted claims have heen completed Therefore, this listing does sot and should nes be deemed to consiitute: (1) a waiver of any
defense. counterclaim or o!fset to the helow-tisted claims: (2} an acknowledgment of the allowability of any of the below- listed claims: and/or {3}. waiver of any other

right or lega} position of the debtar

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ANNEX A

MTS, Incorporated - Largest Bond Holders

Case-04.10394-BLS_Doc-1—Filed-02/09/04.Rage24-9f26———————$ $$

 

Institution

 

ADP/ICS

 

AIG Investment Group

 

Banc One High Yield Partners

 

Barclays Capital Inc.

 

Barclays Bank PLC

 

Barclay London

 

Bear, Stearns Securities Corp.

 

Boulder Investment Advisors

 

Citicorp

 

Columbia Management Group

 

Credit Suisse Asset Management

 

DB Distressed Opportunities Fund Ltd c/o Deutsche FD Admin Svces (ireland Ltd)

 

Euroclear

 

Goidman Sachs & Co.

 

Greyhen Partners, LP

 

Gryphon Master Fund Ltd c/o Gryphon Mami Partners Lid

 

Hightand Capital Management

 

JP Morgan Chase

 

Levine inv Limited Partnership

 

LoneStar Capital Management, LLC

 

LoneStar Partners LP

 

Mellon Bank

 

Mellon Trust of New England, N.A.

 

Morgan Stanley & Co, Inc.

 

Muzinich & Company

 

MW Post Portfolio Fund Ltd

 

Walkers Sov Ltd

 

MW Post Opportunity Offshore Fund Lid

 

The Opportunity Fund LLC

 

Pachoider

 

Post Opportunity Fund LP

 

Post Advisory Group

 

Quattro Fund Ltd

 

Sphinx Distressed Fund Spc

 

Sphinx Distressed Fund MW Post Opportunity

 

State of South Dakota Retirement System Fund

 

State Street Bank & Trust Co.

 

 

UBS Financial Services, Inc.

 

 
 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

M TS Incorporated, a California ; Case No, 04~ ( j

corporation, : Jointly Administered
Debtor.

DECLARATION UNDER PENALTY OF PERJURY
REGARDING DEBTOR’S LIST OF FIFTY LARGEST UNSECURED CLAIMS

THE UNDERSIGNED, A DULY AUTHORIZED OFFICER OF THE ABOVE-
NAMED Debtor, a California corporation, hereby certifies under penalty of perjury that the
foregoing list of fifty (50) largest unsecured claims reflects the Debtor’s creditors that could be
ascertained after diligent inquiry, and is correct and consistent with the Debtor’s books and
records. To the extent practicable, the Creditor List complies with Del. Bankr. LR 1007-1(a).

I declare under penalty of perjury and pursuant to Del. Bankr. LR 1007-1(a) the

foregoing is true and correct. Executed this

 

 

DeVaughn Searson
Executive Vice President, Chief Financial Office,
Secretary and Treasurer

LAS: 1060809 1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ; Chapter 11

M TS Incorporated, a California : Case No. 04- ( }

corporation, : Jointly Administered
Debtor. :

LIST OF EQUITY SECURITY HOLDERS

The Equity Security Holder for the Debtor in the above captioned case is:

 

 

 

 

Name Address Equity Holdings
Tower Records, incorporated | 2500 Del Monte St. 100% Holder of Issued and
West Sacramento, CA 95691 _| Outstanding Shares

 

 

 

LAI: 1060784 1

 
Case-04-10394-BLS—-Dec+—_Filed 02/09/04—-Page-2.4-6F 26

IN THE UNITED STATES BANKRUPTCY COURT
FOR TRE DISTRICT OF DELAWARE

 

In re: : Chapter If

M TS Incorporated, a California : Case No. 04- ( )

corporation, : Jointly Administered
Debtor.

DECLARATION UNDER PENALTY OF PERJURY
REGARDING DEBTOR’S LIST OF EQUITY SECURITY HOLDERS

THE UNDERSIGNED, A DULY AUTHORIZED OFFICER OF THE ABOVE-
NAMED Debtor, a Califomia corporation, hereby certifies under penalty of perjury that the
attached list of equity security holders (the “List of Equity Security Holders”) reflects the
Debtor’s equity security holders that could be ascertained after diligent inquiry, and is correct
and consistent with the Debtor’s books and records, To the extent practicable, the List of Equity
Security Holders complies with Del. Bankr. LR 1007-1{a).

I declare under penalty of perjury and pursuant to Del. Bankr. LR 1007-1(a) the

foregoing is true and correct. Executed this

 

 

DeVaughn Searson
Executive Vice President, Chief Financial Office,
Secretary and Treasurer

1.A3:1060784 J
 

 

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: : Chapter 1i

M T S Incorporated, a California : Case No. 04- ( )

corporation, : Jointly Administered
Debtor.

CONSOLIDATED LIST OF CREDITORS

The debtor in this Chapter 11 case and certain affiliated entities (collectively, the
“Debtors”) each filed a petition in this Court on February 9, 2004 for relief under chapter 11 of
the United States Bankruptcy Code, 11 U.S.C. §§101-1330. Due to its voluminous nature, a
single consolidated list of creditors is being submitted to the Court electronically along with this

petition.

LA3:1061209.3
 

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

In re: ; Chapter 11

M T S Incorporated, a California : Case No. 04- ( }

corporation, : Jointly Administered
Debtor.

DECLARATION UNDER PENALTY OF PERJURY
REGARDING DEBTOR’S CONSOLIDATED CREDITOR LIST.

THE UNDERSIGNED, A DULY AUTHORIZED OFFICER OF THE ABOVE-
NAMED Debior, a California corporation, hereby certifies under penalty of perjury that the
Consolidated Creditor List submitted herewith reflects the Debtor’s creditors that could be
ascertained after diligent inquiry, and is correct and consistent with the Debtor’s books and
records. To the extent practicable, the Creditor List complies with Del. Bankr. LR 1007-1(a).
I declare under penalty of perjury and pursuant to Del. Bankr. LR 1007-1(a) the

day of _Februmery , 2004.

foregoing is true and correct. Executed thig

   
  

 

DeVaughn Searson
Executive Vice President, Chief Financial Office,
Secretary and Treasurer

1A3:1061209 1

 
